          Case 1:19-cr-00020-RDB Document 21 Filed 06/25/19 Page 1 of 4



                         IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA


   v.                                                    Case No. RDB-19-020


PAUL ALEXANDER

   Defendant
_______________________________/


                   DEFENDANT’S MOTION IN LIMINE TO EXCLUDE
                          ANY MENTION OF WEAPONS

        NOW COMES, Paul Alexander, by and through his counsel, Russell A. Neverdon, Sr., of

the Law Office of Russell A. Neverdon, Sr., pursuant to Fed. R. Crim. P. 12(b), and respectfully

asks this Court for an Order precluding the government from arguing or presenting any evidence

at trial that Mr. Alexander possessed, used or carried a firearm during the commission of the

alleged offense, and, as cause, states as follows:

                                  FACTUAL BACKGROUND

        The indictment in this case alleges that Mr. Alexander conspired to possess and distribute

400 grams or more of a detectable amount of fentanyl, in violation of 21 USC §846 and §841(a)(1).

The indictment does not allege who Mr. Alexander conspired with, and he is the sole defendant

named in the indictment. The indictment does not charge Mr. Alexander with use or possession of

a firearm, nor does it allege any facts in support of such an allegation.

        During the course of the investigation that led to the indictment pending against Mr.

Alexander, other persons were arrested and charged with weapons possession and narcotics

offenses. The government intends to use this evidence against Mr. Alexander at trial.


                                                     1
             Case 1:19-cr-00020-RDB Document 21 Filed 06/25/19 Page 2 of 4




                                          ARGUMENT

        I.       ANY TESTIMONY, EVIDENCE, OR MERE MENTION OF
                   GUNS MAY NOT BE INTRODUCED AT TRIAL

        Mr. Alexander argues that any testimony, evidence, or mention of firearms should be

precluded from admission at trial because such evidence is prejudicial, highly inflammatory, and

irrelevant to this case.


        Federal Rule of Evidence 404 (b) provides, in pertinent part:

                 (b) Other crimes, wrongs, or acts.—Evidence of other crimes,
                 wrongs, or acts is not admissible to prove the character of a person
                 in order to show action in conformity therewith. It may, however,
                 be admissible for other purposes, such as proof of motive,
                 opportunity, intent, preparation, common scheme or plan,
                 knowledge, identity, or absence of mistake or accident.

        Generally, other crimes evidence is inadmissible. See United States v. Repak, 852 F.3d 230,

240 (3d Cir. 2017) (“Rule 404(b) is a rule of general exclusion”). The Fourth Circuit has held that

the rule reflects a “fear that jurors will convict a defendant based on the jurors’ disdain or their

belief that the defendant’s prior bad acts make guilt more likely.” United States v. Ham, 998 F.2d

1247, 1252-53 (4th Cir. 1995). Although there are several exceptions to this rule, none of them

apply in this case.

        The Defendant is charged with drug conspiracy, and is not charged with any offenses

related to weapons possession. Any evidence of the Defendant’s alleged firearms possession is not

at all relevant to this case. The alleged firearm possession does not show motive, opportunity,

intent, preparation, nor common scheme or plan. Thus, none of the exceptions to the prior bad acts

rule apply in this case. Further, although guns were found in Mr. Alexander’s apartment, that

                                                 2
              Case 1:19-cr-00020-RDB Document 21 Filed 06/25/19 Page 3 of 4



alone is insufficient to warrant admission in this case. 1 There is no evidence to suggest that the gun

was possessed in preparation for, or as part of the scheme in the drug trafficking offense.

           Further, there is no evidence which suggests that Defendant had knowledge that other

persons were in possession of firearms, such that it may be attributed to him. 2 Admitting such

prejudicial evidence would have limited probative value for purposes of showing knowledge,

intent, or modus operandi. See United States v. Johnson, No. S5-16-Cr-281 (PGG), 2019 U.S. Dist.

LEXIS 26097, at *20 n.5 (S.D.N.Y Feb. 16, 2019) (potential for unfair prejudice far outweighs

probative value flowing from the possibility that the jury may assume that the defendant who was

observed with someone who was selling drugs – also was selling drugs). In other words, just

because Mr. Alexander was seen with someone who was later found to have possessed a weapon,

that does not me that Mr. Alexander also possessed a weapon, or had knowledge of it.

           In United States v. Cooper, 274 F.3d 230 (5th Cir. 2001), the government argued that

although the defendant was not found with a firearm while in possession or while distributing

drugs, the firearm was nonetheless possessed during the alleged drug conspiracy. In rejecting that

view, the Court explained that it -

           would result in an enhancement any time a drug offender is found with a gun regardless of
           whether drugs are also found or otherwise connected to the gun’s location as long as the
           government alleges that the defendant is involved in an ongoing drug conspiracy. Of
           course, such a holding would relieve that government of its burden of proving that a
           temporal and spatial relation existed between the weapon, the drug trafficking activity, and
           the defendant.

Id. at 246.




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    It should also be noted that neither DNA nor fingerprints belonging to Mr. Alexander was found on the gun.
2
    Other defendants were charged with possession of several firearms, including assault rifles.

                                                           3
            Case 1:19-cr-00020-RDB Document 21 Filed 06/25/19 Page 4 of 4




                                    CONCLUSION

       For the foregoing reasons, Mr. Alexander respectfully asks that the Court GRANT the

Defense’s Motion in Limine, and preclude the government from making any mention of any

firearms.

                                           Respectfully submitted,



                                           ____________/s/________________
                                           Russell A. Neverdon, Sr., Esquire
                                           Federal I.D. No. 25949
                                           711Saint Paul Street
                                           Baltimore, Maryland 21202
                                           (410) 235-2184 Phone
                                           (410) 235-4000 Facsimile
                                           Attorney for the Defendant




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 25th day of June, 2019, a copy of the foregoing Motions

in Limine was filed electronically and e-mailed to all counsel in the above captioned matter by

ECF filing.



                                           ____________/s/________________
                                           Russell A. Neverdon, Sr., Esquire
                                           Federal I.D. No. 25949
                                           711Saint Paul Street
                                           Baltimore, Maryland 21202
                                           (410) 235-2184 Phone
                                           (410) 235-4000 Facsimile
                                           Attorney for the Defendant




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